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FILED
Civil Action NO: 319-cv-00911-NAM-ATB OCT - 9 2019
Plaintiff- Strike 3 Holdings, LLC Roa Gare

 

 

Defendant- John Doe subscriber assigned address 198.255.132.72

October 7, 2019

U.S. Magistrate Judge,

I am the defendant writing this objection letter to oppose
disclosure to Strike 3 Holdings LLC subpoena. I have not been
heard on any of these charges and I am a prose litigant that does not
have training in law or no experience litigating. I am asking the
court to please appoint an attorney as well as allow for more time.

[ have not in any manner downloaded material from adult
websites, nor have I heard of the bit torrent file network or Strike 3
Holdings, LLC prior to the subpoena.

In speaking at length with the cable company, equipment gets
refurbished and when given to the next customer carries the same
numbers for the life of the unit.

Please refer to U.S. District Court - NYND Query where Strike 3
Holdings, LLC is a plaintiff in eighty one (81) cases, in which all
but seven (7) have been closed.

Please refer to U.S.D.C. Southern District of Florida
Case No: 1:19-cv-20761-UU Document 11:

Strike 3 Holdings, LLC Plaintiff

VS
John Doe, Subscriber assigned IP address 72.28.136.217
Which was ordered dismissed with prejudice.

Please refer to www.techdirt.com / article
Strike 3 Gets another Judge to Remind It That IP Addresses Aren't
Infringers Friday May 10, 2019 - Timothy Geigner

 
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I am requesting to remain anonymous to Strike 3 Holdings, LLC
as I did not in any way do what I am being accused of, I do not
agree with pornography and feel it is very demeaning and against
my values.

This letter does not authorize anyone to name me as John Doe.

Sincerely,
Defendant- John Doe
Assigned IP address
198.225 .132.72

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